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          Exhibit F
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From: Martin Black [mailto:mbmblack8@gmail.com]
Sent: Wednesday, February 21, 2018 2:04 PM
To: TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Subject: RE: NFL Concussion Litigation ‐ Cambridge Order

Ms.Benedetto: I will not argue the question at this time as to whether or not my withdrawal as counsel for Cambridge Entities’
was in violation of Local Rule 5.1(c).However, I did talk with one of the officers of Cambridge and was advised that they had not
yet secured another attorney. You can advise Attorney Seeger that I have been authorized by Cambridge to accept service of
the Order on Cambridge’s behalf.

Sent from Mail for Windows 10

From: TerriAnne Benedetto
Sent: Tuesday, February 20, 2018 4:18 PM
To: mbmblack8@gmail.com
Cc: Chris Seeger
Subject: NFL Concussion Litigation ‐ Cambridge Order

Dear Mr. Black,

I am sending you this email on Christopher Seeger’s behalf. The attached Order directs Co‐Lead Class Counsel to ensure that the
Cambridge Entities are served with the Order. We recognize that you have expressed your desire to withdraw as counsel. As
noted in the below email, Co‐Lead Class Counsel objects to your withdrawal without substitution. Indeed, Local Rule 5.1(c)
requires you to substitute other counsel or obtain leave of court in order to withdraw. We do not waive that objection and
maintain that you remain counsel for the Cambridge Entities. However, unless you advise us by 4PM (Eastern) tomorrow that
you are accepting service of the Order on your clients’ behalf, in order to ensure compliance with the Court’s directive, we
intend to serve copies of this Order directly upon the various Cambridge Entities, at their several addresses, and upon their
officers, including Phillip Timothy Howard, Addys Walker, Gail Milon, Lois A. Koons, Mark Hallim, and Jeff Kahn.

Sincerely,

TerriAnne Benedetto
Partner
Seeger Weiss LLP
1515 Market Street
Suite 1380
Philadelphia, PA 19102
(t) 215‐564‐2300
(d) 215‐553‐7981
(f) 215‐851‐8029



From: Chris Seeger
Sent: Monday, February 12, 2018 5:17 PM
To: Martin L Black <mbmblack8@gmail.com>
Cc: Dion Kekatos <DKekatos@seegerweiss.com>; TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Subject: Re: notice of withdrawal on Cambridge

Mr. Black, we’re going to object to your withdrawal unless you’re substituting another firm in for you. If so, whom?


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Sent from my iPhone

On Feb 12, 2018, at 4:59 PM, Martin L Black <mbmblack8@gmail.com> wrote:



       <notice of withdrawal on Cambridge.pdf>




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